EXHIBITB
                                DEPARTMENT OF HOMELAND SECURITY
                                              HOMELAND SECURITY INVESTIGATIONS
                                                                REPORT OF INVESTIGATION
                                               OFFICIAL USE ONLY I LAW ENFORCEMENT SENSITIVE

06/14/2024 09:53 EDT                                                                                                                                                        Page 1 of 4


 CASE NUMBER                                                 SYNOPSIS

                                                             During the ongoing Homeland Security Investigations Newark (HSI
 CASE OPENED                                                 Newark) investigative case                , HSI Newark Child
 5/28/2024                                                   Exploitation Group special agents identified a large-scale
                                                             child sexual abuse material (CSAM) production and distribution
 CURRENT CASE Tl11.E                                         ring led by Ryan Edward HINE (HINE). Moreover, HSI Newark
 Jacob WALDEN                                                special agents identified numerous financial accounts and
                                                             associated email, text, chat, and social media accounts linked
 REPORT Tl11.E                                               to the adult male "buyer" subjects that were enticing minor
 Border Search/Inspection of Jacob                           females to produce and distribute child sexual abuse material
                                                              (CSAM). HSI Newark identified Jacob WALDEN (WALDEN), date of
 WALDEN JFK Airport April 21, 2024
                                                             birth June 30, 1986, who resides and works in Valley Stream,
                                                             New York, as making significant payments into the HINE CSAM
                                                             production and distribution ring from approximately 2020
                                                             through 2022.

                                                             The following report of investigation will document the
                                                             outbound border search and inspection of Jacob WALDEN on April
                                                             21, 2024 at JFK International Airport.




 REPORTED BY
 Christopher Moriarty
 SPECIAL AGENT



 APPROVED BY

 SPECIAL AGENT

 DATE APPROVED
 6/3/2024




           Current Case Title                                                   ROI Number                                                   Date Approved
               Jacob WALDEN                                                                                                                         6/3/2024
                                                OFFICIAL USE ONLY I LAW ENFORCEMENT SENSITIVE
              This document is loaned to you for official use only and remains the property of the Department of Homeland Security. Any further request for disclosure of
                             this document or information contained herein should be referred to HSI Headquarters together with a copy of the document.

           SENSITIVE                                                                                                                               DOJ_ 0000001
                                DEPARTMENT OF HOMELAND SECURITY
                                              HOMELAND SECURITY INVESTIGATIONS
                                                                REPORT OF INVESTIGATION
                                               OFFICIAL USE ONLY I LAW ENFORCEMENT SENSITIVE

06/14/2024 09:53 EDT                                                                                                                                                        Page 2 of 4


 DETAILS OF INVESTIGATION

 On or about April 20, 2024, Homeland Security Investigations Newark (HSI Newark) Special Agent
 Chris Moriarty (SA Moriarty) and HSI New York Special Agent Chris Gnall (SA Gnall) responded to
 John F. Kennedy International Airport Terminal 7 for the purpose of conducting an outbound
 inspection and border search of subject of investigation Jacob Israel WALDEN (Jacob WALDEN),
 date of birth June 30, 1986. Jacob WALDEN had been identified by HSI Newark as a prominent
 "buyer" in an ongoing child sexual abuse material (CSAM} production and distribution ring led by
 Ryan Edward HINE (HINE) Jacob WALDEN was manifested on Norse Airlines Flight NO 402 scheduled to
 depart from JFK to Rome, Italy (FCO) at 0030 hours on April 21, 2024, with his wife Rochel
 WALDEN, his 5 minor children, and the family's nanny. Accompanying SA Moriarty and SA Gnall for
 the outbound border inspection and search was JFK Airport United States Customs and Border
 Protection Officer                (CBPO -  ).

 At approximately 1130 hours, SA Moriarty, SA Gnall, CBPO Wang arrived at the departure gate for
 Norse Airlines Flight t402. SA Moriarty, SA Gnall, and CBPO Wang waited in the secure area
 beyond passenger gate check-in to encounter Jacob WALDEN after his boarding pass was scanned and
 he was committed to his outbound international departure. SA Moriarty observed WALDEN and his
 family scan their boarding passes at the Norse Airlines gate. SA Moriarty observed WALDEN enter
 the secure jetway to board Norse Airlines Flight 402 with his family. SA Moriarty and SA Gnall
 called out Jacob WALDEN'S name, and verbally identified themselves as law enforcement to Jacob
 WALDEN, and his wife, Rochel WALDEN. At that time, SA Moriarty and SA Gnall also displayed both
 their badges and credentials further identifying themselves as special agents with US Department
 of Homeland Security. SA Moriarty stated to Jacob WALDEN and Rochel WALDEN that, as outbound
 international passengers, they were subject to an inspection and search of their person, their
 baggage and all merchandise travelling outbound from the United States . Jacob WALDEN instructed
 his nanny, Jeandradai RAMCHARAN, to take four of the five minor WALDEN children onto the plane.

 SA Moriarty asked Jacob WALDEN and Rochel WALDEN for identification documents. Jacob WALDEN and
 Rochel WALDEN presented their United States passports. Jacob WALDEN also presented his New York
 State driver's license.

 SA Moriarty asked Jacob WALDEN and Rochel WALDEN if they were in possession of any electronic
 devices, specifically any cellular phones. Both Jacob WALDEN and Rochel WALDEN retrieved iPhones
 from their pe r son and presented them to SA Moriarty and SA Gnall. SA Moriarty asked Jacob WALDEN
 and Rochel WALDEN if the iPhones were password protected. They both responded in the
 affirmative. SA Moriarty asked if both Jacob WALDEN and Rochel WALDEN would be willing to unlock
 the phones for further inspection. Both Jacob WALDEN and Rochel WALDEN unlocked their phones. At
 that time, SA Moriarty asked both Jacob WALDEN and Rochel WALDEN if they were willing to provide



           Current Case Title                                                   ROI Number                                                   Date Approved
               Jacob WALDEN                                                                                                                         6/3/2024
                                                OFFICIAL USE ONLY I LAW ENFORCEME NT SENSITIVE
              This document is loaned to you for official use only and remains the property of the Department of Homeland Security. Any further request for disclosure of
                             this document or information contained herein should be referred to HSI Headquarters together with a copy of the document.

          SENSITIVE                                                                                                                                DOJ_0000002
                                DEPARTMENT OF HOMELAND SECURITY
                                             HOMELAND SECURITY INVESTIGATIONS
                                                               REPORT OF INVESTIGATION
                                               OFFICIAL USE ONLY I LAW ENFORCEMENT SENSITIVE

06/14/2024 09:53 EDT                                                                                                                                                        Page 3 of 4

 their passcodes. Jacob WALDEN provided the passcode "9898" for his device, and Roche l WALDEN
 provided the passcode "1120" for her device.

 SA Moriarty first reviewed Rochel WALDEN's iPhone and took a picture of her "Apple ID" in the
 "Settings" feature. SA Moriarty returned Rochel WALDEN's device to her and thanked her for her
 patience .

 SA Moriarty then reviewed Jacob WALDEN's iPhone and took a picture of his "Apple ID" which
 utilized the email "waldenyaakov@yahoo.com". SA Moriarty then identified a "Cash App"
 application on WALDEN' s phone with account "$jakewny Jake N". SA Moriarty additionally
 identified Dropbox and Telegram apps, as well as a calculator hidden photo application on Jacob
 WALDEN's iPhone. SA Moriarty asked Jacob WALDEN how long he had been in possession and owned his
 iPhone, to which Jacob WALDEN replied that he was unsure. SA Moriarty asked Jacob WALDEN if his
 iPhone was backed up to a cloud service, to which Jacob WALDEN replied in the affirmative. SA
 Moriarty then placed Jacob WALDEN's iPhone in "Airplane Mode" and turned off the "WiFi" and
 "Bluetooth" settings.

 SA Moriarty then asked Jacob WALDEN to present his wallet for inspection. In the inspection and
 search of Jacob WALDEN'S wallet, SA Moriarty identified the following debit/credit cards: Visa
 4147202652160712; American Express 373910230912007; American Express 376737811104002; JP Morqan
 Chase 4867428021500894; Chase 4388540101581436.                                         SA Moriarty identified JP Morqan Chase
 4867428021500894 as being linked to multiple Cash App accounts of Jacob WALDEN that made
 payments in 2020-2021 to HINE's CSAM production/distribution ring known to HSI Newark by
 monikers "Kandie Kae", "Lacie Love" and "Rosie Snow".

 At that time, both Jacob WALDEN and Rochel WALDEN asked SA Moriarty and SA Gnall i f they were
 able to prov i de additiona l information about the reasons for their outbound inspect i on and
 border search. SA Moriarty identified and stated to both Jacob WALDEN and Rochel WALDEN that he
 worked child exploitation investigations for HSI Newark, and that Jacob WALDEN had been
 identified as a subject of interest during an ongoing investigation. SA Moriarty further stated
 that he was interested in Jacob WALDEN's communication with "Rosie Snow" and "Lacie Love". Jacob
 WALDEN immediately responded that "Rosie" and "Lacie" were not "one person" but a "group" that
 "went by different names". Jacob WALDEN stated that he went to "rehab" and that his wife was
 aware of his "issues". SA Moriarty asked Jacob WALDEN if he wanted to speak with SA Moriarty and
 SA Gnall in a more private area, away from his wife. Jacob WALDEN then responded "yes". Rochel
 WALDEN then stated that she was aware of Jacob WALDEN's "issues", and that Jacob WALD EN had gone
 to "rehab years ago". At that time, Jacob WALDEN and Roche l WALDEN's youngest child began to
 vomit on the outbound jetway. SA Moriarty and SA Gnall immediately stopped conversation with
 both Jacob WALDEN and Rochel WALDEN so that Jacob WALDEN and Rochel WALDEN could tend to the
 health and safety of their child.



           Current Case Title                                                   ROI Number                                                   Date Approved
               Jacob WALDEN                                                                                                                         6/3/2024
                                                OFFICIAL USE ONLY I LAW ENFORCEMENT SENSITIVE
              This document is loaned to you for official use only and remains the property of the Department of Homeland Security. Any further request for disclosure of
                             this document or information contained herein should be referred to HSI Headquarters together with a copy of the document.

           SENSIT IVE                                                                                                                              DOJ_ 0000003
                                DEPARTMENT OF HOMELAND SECURITY
                                             HOMELAND SECURITY INVESTIGATIONS
                                                                REPORT OF INVESTIGATION
                                               OFFICIAL USE ONLY I LAW ENFORCEMENT SENSITIVE

06/14/2024 09:53 EDT                                                                                                                                                        Page 4 of 4

 SA Moriarty then identified to Jacob WALDEN that his iPhone was being seized in furtherance of
 the ongoing investigation. SA Moriarty provided his contact information to Rochel WALDEN via
 text message to her phone "718-490-1582". SA Moriarty sent a text message "Text" to Rochel
 WALDEN's phone at approximately 0020 hours. Subsequently, SA Moriarty provided Jacob WALDEN with
 a copy of DHS Form 6051S #8070746 for Jacob WALDEN's records purposes. Jacob WALDEN's iPhone was
 marked as "Apple iPhone Silver w/ case" and placed in plastic evidence bag (PEB) #A9835246.

 SA Moriarty and SA Gnall ensured that all identifying documents and wallet contents were
 returned to Jacob WALDEN and Rochel WALDEN. Both Jacob WALDEN and Rochel WALDEN then proceeded
 with their minor child down the jetway to board their outbound flight without incident.

 SA Moriarty and SA Gnall exited JFK Airport Terminal 7, and SA Moriarty secured WALDEN's
 property in his government vehicle for transport to HSI Newark offices at 620 Frelinghuysen
 Avenue, Newark, NJ. SA Moriarty arrived at HSI Newark offices at approximately 0200 hours on
 April 21, 2024, and immediately secured Jacob WALDEN's property and attached to the iPhone to a
 continuous power source. On or about April 22, 2024, and in furtherance of the ongoing border
 search, SA Moriarty transferred WALDEN'S property, secured in PEB #A9835246, to the HSI Newark
 Computer Forensic Lab for further evidence processing and forensic extraction.

 On or about April 21, 2024, SA Moriarty received both a phone call and email from Saul
 Bienenfeld of Bienenfeld Law of Cedarhurst, NY claiming to be representing Jacob WALDEN. After
 receiving a Notice of Appearance from Saul Bienenfeld for Jacob WALDEN on April 22, 2024, SA
 Moriarty and SA Jaclyn Duchene (SA Duchene) spoke to Saul Bienenfeld via phone, providing basic
 information about Jacob WALDEN being identified as a subject in an ongoing HSI Newark child
 exploitation i nvestigation.

 The invest i gation continues.




            Current Case Title                                                  ROI Number                                                   Date Approved
               Jacob WALDEN                                                                                                                         6/3/2024
                                               OFFICIAL USE ONLY I LAW ENFORCEMENT SENSITIVE
              This document is loaned to you for official use only and remains the property of the Department of Homeland Security. Any further request for disclosure of
                             this document or information contained herein should be referred to HSI Headquarters together with a copy of the document.

           SENSIT IVE                                                                                                                              DOJ_ 0000004
